                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR05-3005-LRR
 vs.
                                                                 ORDER
 JAMES FRANSEN,
               Defendant.

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       This matter comes before the court on its own motion.1 In relevant part, 18 U.S.C.
§ 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”).


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        At the court’s request, the United States Probation Office prepared a memorandum
that, among other things, addresses the defendant’s eligibility for a sentence reduction
under 18 U.S.C. § 3582(c)(2).

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       On November 1, 2007, the Sentencing Commission issued Amendment 706, as
amended by Amendment 711, to USSG §2D1.1.               See generally USSG App. C at
www.ussc.gov. Amendment 706 generally reduces by two levels the offense level that is
applicable to cocaine base (“crack”) offenses. On December 11, 2007, the Sentencing
Commission voted to apply Amendment 706 retroactively to crack offenses, and it set
March 3, 2008 as the date that Amendment 706 could be applied retroactively. The
Sentencing Commission also promulgated amendments to USSG §1B1.10, which sets forth
the conditions that must exist before a defendant is entitled to a sentence reduction as a
result of an amended guideline range. See generally USSG App. C at www.ussc.gov.
New USSG §1B1.10 took effect on March 3, 2008 and, in relevant part, states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)
              below, the court may reduce the defendant’s term of
              imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any such reduction in the
              defendant’s term of imprisonment shall be consistent with this
              policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The Sentencing Commission
included Amendment 706 within subsection (c). USSG §1B1.10(c).
       Nevertheless, the court is unable to rely on Amendment 706 to reduce the
defendant’s sentence. See generally United States v. Wyatt, 115 F.3d 606, 608-09 (8th
Cir. 1997) (explaining requirements under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10).
Originally, the court arrived at an adjusted total offense level of 28. Before reaching such
offense level, the court applied USSG §2D1.1(a)(3)(A) and USSG §2D1.1(a)(3)(B)(i) when
determining the defendant’s base offense level of 30, subtracted two levels under USSG
§2D1.1(b)(6) (now USSG §2D1.1(b)(11)), subtracted two levels under USSG §3B1.2(b)

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and added two levels under USSG §3C1.1. Here, the defendant’s base offense level is 30
under USSG §2D1.1(a)(3), two levels are subtracted under USSG §2D1.1(b)(6) (now
USSG §2D1.1(b)(11)), two levels are subtracted under USSG §3B1.2(b) and two levels are
added under USSG §3C1.1. Because it is improper to rely on USSG §2D1.1(a)(3)(B)(i)
to decrease the defendant’s base offense level by two levels, the defendant’s adjusted total
offense level remains the same. Amendment 706 does not impact the defendant’s guideline
range, and, therefore, he is not entitled to a reduction of his 78 month term of
imprisonment. Accordingly, the court concludes that a reduction under 18 U.S.C. §
3582(c)(2) and USSG §1B1.10 is not warranted.
       The Clerk of Court is directed to send a copy of this order to the United States, the
defendant and the Federal Public Defender.


       IT IS SO ORDERED.
       DATED this 3rd day of June, 2008.




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